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27
                     SOUTHISN DISTRICT OF CALIFORNIA
28

     MEMORANDUM OF POINTS AND                         Myles v. County of San Diego, et al.
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     MICKAIL MYLES, an individual,         Case No. 15-cv-1985-JAH (BLM)
1
                Plaintiff,
2
                                           MEMORANDUM OF POINTS
     v.                                    AND AUTHORITIES IN SUPPORT
3
                                           OF PLAINTIFF’S MOTION FOR
     COUNTY OF SAN DIEGO, by and           SANCTIONS AND FOR FEES AND
4    through the SAN DIEGO COUNTY          COSTS UNDER 42 U.S.C. §1988
     SHISIFF’S DEPARTMENT, a public        AND CALIFORNIA CIVIL CODE
5    entity; and DEPUTY J. BANKS,          §52.1(i)
     an individual,
6
                                           Judge:    Hon. John A. Houston
                 Defendants.               Crtrm:    13B
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8                                          Complaint Filed: September 4, 2015
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     MEMORANDUM OF POINTS AND                          Myles v. County of San Diego, et al.
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1          Plaintiff MICKAIL MYLES submits the following Points and Authorities
2    in support of his Motion for Fees and Costs.
3          I.     INTRODUCTION
4          The Civil Rights Attorney’s Fees Awards Act of 1976, 42 U.S.C. §1988,
5    as well as California Civil Code §52.1(i) authorizes an award of reasonable
6    attorney’s fees and costs in civil rights litigation. Specifically, section1988(b)
7    authorizes the Court to award the prevailing party a reasonable attorney’s fee in
8    any suit to enforce the provisions of 42 U.S.C. §1983, while section 52.1(i)
9    provides the same to enforce the provisions of section 51.2. As the prevailing
10   party on all claims brought under these statutes, Mr. Myles brings the instant
11   motion to recover his attorney’s fees and costs pursuant thereto. Plaintiff
12   separately seeks his entitlement to all his fees and costs reasonably incurred in
13   the prosecution of his claims submitted to the jury, all of which he prevailed
14   upon, as sanctions under FRCP 37.
15         The purpose of §§1988 and 52.1(i) is to ensure effective access to the
16   judicial process for persons with civil rights grievances. The provision and award
17   of reasonable and compensatory fees encourages the vindication of constitutional
18   (here, both Federal and State Constitutional rights) and statutory rights. This
19   purpose is particularly applicable in the case at bar.
20         The incident giving rise to this action occurred on September 5, 2014.
21   Plaintiff timely filed his government claim on February 26, 2015. Plaintiff timely
22   filed this civil action on September 4, 2015, just shy of the one-year anniversary
23   of his abuse at the hands of Defendant Banks and his K-9 partner.
24         Within a month of filing his complaint, Mr. Myles served his discovery
25   requests, which were appropriately tailored to the claims and causes of action
26   presented in his complaint. From that date on, as is well documented in Mr.
27   ///
28   ///
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1    Myles’ two motions for sanctions filed on June 16, 2022, and August 15, 2022, 1
2    Defendants, County Counsel, and outside counsel separately retained by
3    Defendant County of San Diego (hereinafter “County”) engaged in a willful, bad
4    faith pattern of obfuscation, deception, suppression, manipulation and evasion 2,
5    costing Mr. Myles precious time, money, effort, physical and emotional hardship
6    in the form of continuing depression, anxiety, degradation, exhaustion and
7    humiliation, and causing him to question the very justice system he counted on
8    as the only acceptable forum to seek to right the wrongs he had suffered.
9          So severe were the discovery abuses inflicted on Mr. Myles that his
10   counsel were forced to re-take many depositions, file otherwise unnecessary
11   motions, oppose Defendants’ motions without the information and documents
12   Defendants had in their possession that would assist in Mr. Myles’ opposition
13   efforts, attempts to locate (on the eve of and during trial) witnesses and
14   documents that should have been disclosed six years earlier, and review “on the
15   fly” (on the eve of and during trial) a plethora of documents Defendants
16   produced only because Mr. Myles learned of them (despite Defendants’ efforts to
17   conceal them) through his own counsel’s internet searches or belatedly from
18   Defendants only as a result of pressure brought by Plaintiff’s two sanctions
19   motions. The very last of these newly produced documents were turned over to
20   Mr. Myles on September 12, 2022, the first day of trial, but others remain
21   unproduced.
22         This case has been an extraordinary one since the night Mr. Myles was
23   brutally beaten and bitten by Defendant Jeremy Banks and his K-9, all while in
24   custody, under control, bent over the back of a patrol car, held down by two
25   1
      Plaintiff incorporates herein by this reference all documents, filings, exhibits
26   and declarations filed in support of these motions.
27
     2
      This pattern and practice is not limited to this case. See cases before The
     Honorable Marilyn Huff, in K.J.P., et al. v. County of San Diego/Fischer, 15-cv-
28   02692-H-MDD, and The Honorable Larry Burns, in Hartsell v. County of San
     Diego/Stroh, 16-cv-1094-LAB-JMA.
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1    sheriff’s deputies, and handcuffed. 3 Banks’ abuse resulted in Myles’ physical
2    scarring, traumatic brain injury, and PTSD. Moreover, while not a race-based
3    discrimination case by the time of trial, both Plaintiff’s and Defendants’ experts
4    agreed that the psychological impact Mr. Myles suffered that night, and will
5    suffer for the rest of his life, is compounded by the fact that the four deputies
6    involved in the incident were white and Mr. Myles is black, with trauma
7    triggered, for example, every time Mr. Myles hears news of racially biased
8    policing practices.
9          This case is also extraordinary because of the evidence introduced at trial
10   that proved Mr. Myles was only one of many other victims of Defendant Banks’
11   uncontrolled outbursts of excessive and unreasonable force, as summarized in
12   Plaintiff’s Demonstrative Exhibit P464. One of Banks’ outbursts even involved
13   the in-custody death of hog-tied detainee, Hugo Barragan, whose ear was
14   chewed by Banks’ K-9.
15         Further evidence of the extraordinary nature of this case is the
16   overwhelming evidence introduced at trial of the County’s failure to investigate 4,
17   failure to train, and failure to discipline, as well as the County’s repeated
18
     3
      Mr. Myles’ deposition and trial testimony that he was hit over the head with
19   what he believed was a metal object while handcuffed, is similar to Deputy
     Banks’ documented use of force on Jessie Alvarez six months later on March 6,
20   2015, wherein Banks struck Alvarez on the head with his mace canister while
     handcuffed. The existence of the Alvarez incident and evidence relating to the
21   similarity of force used, was hidden from Plaintiff until July 19, 2022. See Trial
     Exhibit 440-4.
22   4
      Ironically, Defendants contended, in its opening statement and closing
23   argument, that the County had investigated all of Banks’ uses of force, pointing
     to the signatures on the UOF Supplements of a sergeant, lieutenant and captain,
24   the Barragan homicide investigation, the two CIRB reports re the minor and
     Alvarez incidents that Defendants allegedly “inadvertently” disclosed, and the IA
25   investigations in Valdez and Lopez, wrongfully withheld until trial. The ironic
     and disingenuous nature of these arguments is remarkable given that the
26   Defendants never even acknowledged the existence of these CIRBs or IA
     investigations and, further, argued against producing all of Banks’ UOF
27   supplements, even the 17 identified in the Eglin cross-exam and trial Exhibit
     439, claiming that they were not responsive to Plaintiff’s discovery requests for
28   “investigations into Bank’s conduct”. See Exhibit A to Dicks Decl., Trial
     Transcript October 4, 2022, 4720:19 – 4721:9.
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 1   ratification of Defendant Banks’ criminal misconduct, at every level, from
 2   supervising sergeants to Head Sheriff William Gore himself.
 3         The extraordinary nature of this case is further evidenced by the Court’s
 4   findings, after Plaintiff’s two separate sanctions motions, that the County of San
 5   Diego (including through both the County Counsel’s office and its retained
 6   outside counsel) willfully and in bad faith suppressed evidence relating to
 7   Defendant Banks’ uses of force and failures to investigate said uses of force. The
 8   County and its counsel further willfully withheld, in bad faith, the County’s
 9   efforts to surveil Mr. Myles, his father, and his counsel, without ever identifying
10   any of these documents in any of its five separate privilege logs, all signed by
11   County Counsel Ron Lenert. These unprecedented instances of willful evidence
12   suppression spanned a period of seven years – with some of the documents only
13   being turned over during trial in this matter, and others which were revealed at
14   trial, yet still never produced despite being extremely probative to Plaintiff’s
15   claims and causes of action against both Defendant Banks and Defendant
16   County. See Trial Transcript October 4, 2022 (Exhibit A to Declaration of Joseph
17   G. Dicks (“Dicks Decl.”) filed herewith), at 4650:17-24 and 4720:19 – 4721:6,
18   wherein the Court expressed that it was “appalled” to hear that after two
19   sanctions motions against Defendants for suppressing evidence, Plaintiff learned,
20   on the cross-examination of former I.A. Lt. Eglin, that she had identified and
21   looked into 17 uses of force by Banks in a one-year period, none of which were
22   ever disclosed to Plaintiffs.
23         During trial, the extraordinary nature of this case was further demonstrated
24   by Defendants’ unconscionable violation of the Court’s order, on Defendants’
25   own motion, to exclude all witnesses from the courtroom prior to testifying
26   (including experts), by providing many of its witnesses with daily trial transcripts
27   in advance of their scheduled trial testimony, in a clear attempt to taint that
28   testimony to gain a strategic and unfair advantage over Plaintiff at trial.
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 1         Finally, the extraordinary nature of this case was highlighted by the
 2   equally unprecedented, outrageous and obvious display by Defendants’ trial
 3   counsel of her disdain, frustration and disgust of Plaintiff’s cross-examination of
 4   Defendant Banks, all in full view of the jury, after the Court had previously
 5   admonished all parties, their counsel and spectators in the courtroom, not to
 6   engage in conduct which the Court described as “a heckler’s veto.” Exhibit A to
 7   Dicks Decl., Trial Transcript, September 21, 2022, 1828:9 – 1832:17.
 8         It is against this backdrop that Plaintiff prays for sanctions in the form of
 9   payment of all of his attorney’s fees with a 2x multiplier, as well as all expert
10   fees and costs reasonably incurred in the prosecution of his case – a case that was
11   made far more difficult, time-consuming, expensive and risky because of the
12   above abuses.
13         II.    PLAINTIFF IS ENTITLED TO FEES AND COSTS UNDER 42
14                U.S.C. §1988 AND CAL. CIV. CODE §52.1(i) AND RULE 37
15         “A party who prevails on a claim under § 1983 is entitled to reasonable
16   attorneys’ fees unless special circumstances would render such an award unjust.”
17   Chaudhry v. City of Los Angeles, 751 F.3d 1096, 1110 (9th Cir. 2014), citing 42
18   U.S.C. § 1988(b); Hensley v. Eckerhart, 461 U.S. 424, 429, 103 S.Ct. 1933, 76
19   L.Ed.2d 40 (1983). A plaintiff prevailing on his or her Section 1983 claim
20   “‘should ordinarily recover an attorney’s fee unless special circumstances would
21   render such an award unjust.’” Thomas v. City of Tacoma, 410 F.3d 644, 647
22   (9th Cir. 2005) (quoting Hensley, supra, at 429); see also, Barnard v. Theobald,
23   721 F.3d 1069,1077 (9th Cir.2013) (“‘a court's discretion to deny fees under §
24   1988 is very narrow and ... fee awards should be the rule rather than the
25   exception.’”). (Emphasis added.)
26         As repeatedly held by the Supreme Court, the purpose of §1988 is “to
27   ensure that federal rights are adequately enforced.” See Perdue v. Kenny A. ex
28   rel. Winn, 559 U.S. 542, 550 (2010); Hensley v. Eckerhart, 461 U.S. 424, 429
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 1   (1983) (the purpose of 42 U.S.C. §1988 is to ensure effective access to the
 2   judicial process for persons with civil rights grievances). In light of such public
 3   policy, courts have consistently held that attorneys in civil rights suits are
 4   entitled to recover their full fees and costs if they achieve meaningful and
 5   substantial relief, even if they do not prevail on every theory or against every
 6   party. Bouman v. Block, 940 F.2d 1211, 1237 (9th Cir. 1991); Hensley, 461 U.S.
 7   at 435 (“Litigants in good faith may raise alternative legal grounds for a desired
 8   outcome, and the court’s rejection of or failure to reach certain grounds is not a
 9   sufficient reason for reducing a fee. The result is what matters.”). If the rule were
10   otherwise, attorneys would be discouraged from taking on high risk cases such as
11   this one. Id.; see also, Odima v. Westin Tucson Hotel, 53 F.3d 1484, 1499 (9th
12   Cir. 1995); Serrano v. Unruh, 32 Cal.3d 621 (1982).
13         A fully compensatory fee is one that encourages the vindication of
14   constitutional and statutory rights through recovery of all costs and time spent
15   on this case, calculated at private market rates.5 See City of Riverside v. Rivera,
16   477 U.S. 561, 581 (1986). “The Supreme Court has stated that the lodestar is the
17   ‘guiding light’ of its fee-shifting jurisprudence, a standard that is the fundamental
18   starting point in determining a reasonable attorney's fee.” Van Skike v. Director,
19   Office of Workers' Compensation Programs, 557 F.3d 1041, 1048 (9th
20   Cir.2009); Ballen v. City of Redmond, 466 F.3d 736, 746 (9th Cir.2006) (“In the
21   Ninth Circuit, the customary method of determining the permissible amount of
22   attorneys' fees under § 1988 is the ‘lodestar’ method”); see also, Kelly v.
23   Wengler, 822 F.3d 1085, 1099 (9th Cir. 2016) (the Ninth Circuit employs the
24   “lodestar” method to determine a reasonable attorney’s fees award under §
25   1988).
26         Under the lodestar calculation, a reasonable fee is the product of “the
27
     5
      Plaintiff’s cost bill identifies only taxable costs. This motion, as well as the
28   declarations and exhibits thereto, identify, itemize and request payment of all
     costs reasonably incurred in the prosecution of Plaintiff’s claims.
     MEMORANDUM OF POINTS AND                  -6-              Myles v. County of San Diego, et al.
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 1   number of hours reasonably expended on the litigation multiplied by a
 2   reasonable hourly rate.” Hensley, 461 U.S. at 433. The prevailing party bears the
 3   burden of establishing the reasonableness of the attorney’s hourly rates. The
 4   court has broad discretion in evaluating a fee award because trial judges “are in
 5   the best position to assess the value of the professional services rendered in their
 6   courts.” Christian Research Institute v. Alnor, 165 Cal.App.4th 1315, 1321
 7   (Cal.App.2008). As recently explained by the Ninth Circuit in Kelly: “The
 8   lodestar method is a two-step process.” Fischer v. SJB–P.D. Inc., 214 F.3d 1115,
 9   1119 (9th Cir.2000).
10         First, a court calculates the lodestar figure by multiplying the number of
11   hours reasonably expended on a case by a reasonable hourly rate. Id. A
12   reasonable hourly rate is ordinarily the ‘prevailing market rate [] in the relevant
13   community.’ [Citation]. The lodestar figure ‘roughly approximates the fee that
14   the prevailing attorney would have received if he or she had been representing a
15   paying client who was billed by the hour in a comparable case,’ [citation], and is
16   therefore a presumptively reasonable fee. Gonzalez v. City of Maywood, 729
17   F.3d 1196, 1202 (9th Cir.2013). Second, the court determines whether to modify
18   the lodestar figure, upward or downward, based on factors not subsumed in the
19   lodestar figure. See Perdue, 559 U.S. at 553–54, 130 S.Ct. 1662; Morales v. City
20   of San Rafael, 96 F.3d 359, 363–64 & n. 8 (9th Cir.1996), as amended on denial
21   of reh'g, 108 F.3d 981(9t h Cir.1997).” Kelly, at 1099.
22         In determining the size of an appropriate fee award, the Supreme Court
23   has emphasized that courts need not “achieve auditing perfection” or “become
24   green eyeshade accountants.” Fox v. Vice, 563 U.S. 826, 838 (2011) (“We
25   emphasize, as we have before, that the determination of fees ‘should not result in
26   a second major litigation.’”). Rather, because the “essential goal of shifting fees
27   . . . is to do rough justice,” the court may “use estimates” or “take into account
28   [its] overall sense of a suit” to determine a reasonable attorney’s fee. Id.
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 1                A. PLAINTIFF IS, UNEQUIVOCALLY, THE PREVAILING PARTY.
 2         There can be no legitimate dispute that Plaintiff MICKAIL MYLES was
 3   the prevailing party in this litigation. As to each and every one of his claims as
 4   against Defendant Banks and Defendant County submitted to the jury, Plaintiff
 5   secured judgment by a unanimous verdict, including under 42 U.S.C. §1983 and
 6   California Civil Code §52.1 against Defendant Banks for violation of his federal
 7   and state constitutional rights when Mr. Myles was beaten and bitten while
 8   handcuffed, under control and not in any way resisting arrest. Liability as against
 9   Defendant County was also unanimously established under 42 U.S.C. §1983 as
10   applied under Monell v. Dep't of Soc. Servs. of City of N.Y, 436 U.S. 658 (1978),
11   for the deliberately indifferent policies and practices it had in place that acted as
12   a moving force in the violation of Mr. Myles’ Federal constitutional rights by
13   Defendant Banks. Liability under §52.1 was similarly established by unanimous
14   verdict against Defendant County. Based on the jury’s unanimous verdict
15   awarding $5 million, this Court entered an enforceable judgment against
16   Defendants and in favor of Plaintiff on October 14, 2022. (Doc. No. 440.) As the
17   prevailing party on every claim and theory of relief submitted to the jury,
18   Plaintiff is entitled to recover attorney’s fees and costs.6
19                B. LODESTAR CALCULATION – REASONABLE HOURLY RATE.
20         Reasonable attorney’s fees are assessed at the prevailing market rates in
21   the relevant community. See Blum v. Stenson, 465 U.S. 886, 895, 104 S.Ct. 1541,
22   79 L.Ed.2d 891 (1984). A reasonable hourly rate is not defined “by reference to
23   the rates actually charged by the prevailing party.” Chalmers v. City of Los
24   Angeles, 796 F.2d 1205, 1210 (9th Cir. 1986). Rather, reasonable fees must be
25   calculated based on the prevailing market rates charged by “attorneys in the
26   relevant community engaged in ‘equally complex Federal litigation.’” Prison
27

28
     6
      While an extraordinary result, prevailing on every claim and cause of action is
     not necessary in order to recover all fees and costs. See, supra, 5:21 – 6:3.
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 1   Legal News v. Schwarzenegger, 608 F.3d 446, 455 (9th Cir. 2010) (quoting Blum
 2   v. Stenson, 465 U.S. 886, 895 n.11 (1984)); see also, Van Skike v. Dir., Off. of
 3   Workers’ Comp. Programs, 557 F.3d 1041, 1046 (9th Cir. 2009) (“The Supreme
 4   Court has consistently held that reasonable fees ‘are to be calculated according to
 5   the prevailing market rates in the relevant community.’”). [A]ffidavits of the
 6   [applicant’s] attorney[s] and other attorneys regarding prevailing fees in the
 7   community, and rate determinations in other cases ... are satisfactory evidence of
 8   the prevailing market rate.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 980
 9   (9th Cir.2008); see also, Welch v. Metro. Life Ins. Co., 480 F.3d 942, 946 (9th
10   Cir.2007) (“[B]illing rates should be established by reference to the fees that
11   private attorneys of an ability and reputation comparable to that of prevailing
12   counsel charge their paying clients for legal work of similar complexity.”) The
13   relevant community includes “attorneys practicing in the forum district.” Gates
14   v. Deukmejian, 987 F.2d 1392, 1405 (9th Cir. 1992). Further, “the Court must
15   base its determination on the current market rate.” United States v. $28,000.00 in
16   U.S. Currency, 802 F.3d 1100, 1107 (9th Cir. 2015), citing Camacho, 523 F.3d
17   at 981 (“[A] district court abuses its discretion to the extent it relies on cases
18   decided years before the attorneys actually rendered their services.”); Bell, 341
19   F.3d at 861 (“We hold ... that it was an abuse of discretion in this case to apply
20   market rates in effect more than two years before the work was performed.”)
21         Here, Plaintiff has submitted declarations not only from his attorneys
22   attesting to the reasonableness of the rates sought, but also declarations from two
23   prominent, practicing civil rights attorneys, Carol Sobel and Eugene Iredale, as
24   well as from a renowned local attorney with extraordinary experience and
25   expertise in prevailing attorney’s fees in the San Diego area, David Casey, Jr. All
26   three establish that the requested rates match the prevailing market rates for
27   private attorneys with similar levels of experience. See Guam Soc'y of
28   Obstetricians and Gynecologists v. Ada, 100 F.3d 691, 696 (9th Cir.1996)
     MEMORANDUM OF POINTS AND                  -9-              Myles v. County of San Diego, et al.
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 1   (“declarations of the ‘prevailing market rate in the relevant community ... [are]
 2   sufficient to establish the appropriate [billing] rate for lodestar purposes.’”
 3   (quoting Davis v. City and County of San Francisco, 976 F.2d 1536, 1547 (9th
 4   Cir.1992))).
 5         The declarations by Ms. Sobel, Mr. Iredale and Mr. Casey each establish
 6   that the prevailing hourly community rate for Browne Greene is between $1,000
 7   and $1,200, for Mr. Dicks and Ms. Workman, $1,000, for Mr. Balaban $900, for
 8   Ms. Boyer $800 and for Mr. Murphy $700. See Declarations of Carol Sobel
 9   (“Sobel Decl.” at ¶¶24-35”); Eugene Iredale (“Iredale Decl.” at ¶¶21-24) and
10   David S. Casey, Jr. (“Casey Decl.” at ¶¶11-14).
11         The rates requested are further supported by the declarations which
12   explain that the relevant community rates here are for plaintiff’s lawyers in
13   complex civil rights cases in San Diego. See Sobel Decl. ¶¶15-18, Iredale Decl.
14   ¶¶20, 25-26 and Casey Decl. ¶8. Both Ms. Sobel and Mr. Iredale highlighted that
15   in analyzing rates recovered by lawyers of similar experience in complex civil
16   rights cases such as this one, the requested rates are in accord with the current
17   prevailing rates. See Sobel Decl. ¶¶20-34 and Iredale Decl. ¶¶18, 20.
18         As outlined in the declarations of Ms. Sobel and Mr. Iredale, the requested
19   rates for Plaintiff’s counsel echo those awarded in similar complex civil rights
20   actions. See Sobel Decl. ¶¶15-18 and Iredale Decl. ¶¶20, 25-26.; see also,
21   Rodriguez v. County of Los Angeles, No. 10–6342–CBM (AJWx), 96 F.Supp.3d
22   1012 (C.D. Cal. 2014) (§1983 action where plaintiff’s counsel was awarded a
23   rate of $975 an hour; the lead attorney, who had been practicing civil rights law
24   for 10 years and who had extensive criminal trial experience, a rate of $775 an
25   hour; another attorney who had been practicing law for over 20 years with a
26   focus in the area of police misconduct an award of $700 an hour; an attorney
27   with 10 years of experience practicing law a rate of $600 an hour; an attorney
28   with six years of experience $500 an hour; and paralegal rates of $295 an hour
     MEMORANDUM OF POINTS AND                 -10-              Myles v. County of San Diego, et al.
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 1   and law clerk rates of $175 an hour); Dowd v. City of Los Angeles, No. CV 09–
 2   06731 SS, 28 F.Supp.3d 1019 (C.D. Cal. 2014) (court awarded an attorney with
 3   a 43-year career $775 an hour; an attorney with over 35 years practicing law and
 4   limited civil rights case experience $675 an hour; an attorney with seven years
 5   practicing law and limited civil rights and complex litigation experience $375 an
 6   hour; and an attorney with one year of legal experience and no experience
 7   litigating civil rights or other complex federal cases $200 an hour); Cervantes v.
 8   Cnty of Los Angeles, No. 12-09889 DDP (MRWx), 2016 WL 756456, at *3-4
 9   (C.D. Cal. Feb. 24, 2016), (court awarded $700 an hour for lead counsel with
10   over 35 years of experience practicing law; $400 an hour was appropriate for an
11   attorney litigating his first federal jury trial and who had limited civil rights
12   experience; and $275 an hour for an attorney approximately two years out of law
13   school who was participating in his first federal trial).7
14         The evidence therefore supports the rates requested by Plaintiff’s counsel.
15                C. LODESTAR CALCULATION – HOURS REASONABLY EXPENDED.
16         Under the lodestar method, “a district court must start by determining how
17   many hours were reasonably expended on the litigation, and then multiply those
18   hours by the prevailing local rate for an attorney of the skill required to perform
19   the litigation.” Moreno v. City of Sacramento, 534 F.3d 1106, 1111 (9th Cir.
20   2008). As noted by the Ninth Circuit in Moreno, as a general rule, “the court
21   should defer to the winning lawyer’s professional judgment as to how much time
22   he was required to spend on the case.” Moreno, 534 F.3d at 1112; see also, E-
23   Pass Techs., Inc. v. 3Com Corp., Civ. No. 00-2255 DLJ, 2007 WL 4170514, at
24   *6 (N.D. Cal. Nov. 14, 2007) (“[T]he court will not second-guess reasonable
25   attorney conduct of a litigation strategy for the case.”). Such deference is
26

27
     7
       See also, two recent 42 U.S.C. §1983 cases from the Central District, where
     lead counsel with an outstanding track record, but with far less time at the bar
28   than Mr. Greene, was awarded, on multiple occasions, $1,100/hour. Exhibit D to
     Dicks Decl.
     MEMORANDUM OF POINTS AND                  -11-               Myles v. County of San Diego, et al.
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 1   particularly appropriate in civil rights cases where plaintiffs’ attorneys often
 2   work on a contingency basis and thus have little incentive to expend unnecessary
 3   hours. See, e.g., Moreno, 534 F.3d at 1112 (“It would be the highly unusual civil
 4   rights case where [a] plaintiff’s lawyer engages in churning.”); Blackwell v.
 5   Foley, 724 F. Supp. 2d 1068, 1080 (N.D. Cal. 2010) (“[I]f anything, an attorney
 6   working on contingency is less likely to expend unnecessary hours because the
 7   payoff is too uncertain.”).
 8          The chart below on page 15 references the hours spent by each attorney.
 9    Considering these hours in the context of the three phases of how the case
10    proceeded, as described in Mr. Dicks’ and Mr. Balaban’s declarations (see
11    Dicks Decl. at ¶¶17-37; Balaban Decl. ¶¶ 10-27), i.e. (1) pretrial discovery and
12    initial litigation, (2) law and motion, and (3) trial, the hours reflect 3,338 hours
13    for Dicks & Workman, 202 hours for Esner, Chang & Boyer, 584 hours for
14    Balaban & Spielberger and 420 hours for Greene, Broillet & Wheeler, totaling
15    4,550 hours. The hours requested are supported by the submitted billing
16    statements and/or, and as detailed in the declarations of Plaintiff’s counsel.
17          The analysis of the reasonableness of the hours requested requires the
18    Court to determine that the “time spent was reasonably necessary and that its
19    counsel made ‘a good faith effort to exclude from the fee request hours that are
20    excessive, redundant, or otherwise unnecessary.’” Jordan v. Mutnomah County,
21    815 F.2d 1258, 1263 n.8 (9th Cir. 1987) (quoting Hensley v. Eckerhart, 461
22    U.S. 433, 434 (1983)). As explained in Hensely, “Counsel for the prevailing
23    party should make a good faith effort to exclude from a fee request hours that
24    are excessive, redundant, or otherwise unnecessary, just as a lawyer in private
25    practice ethically is obligated to exclude such hours from his fee submission. In
26    the private sector, ‘billing judgment’ is an important component in fee setting.
27    It is no less important here. Hours that are not properly billed to one’s client
28    also are not properly billed to one’s adversary pursuant to statutory authority.”
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 1    Hensley, 461 U.S. at 434 (internal citations and quotations omitted).
 2          The time records and declarations submitted reflect such billing
 3    judgment. As noted in the declarations of Messrs. Iredale and Casey, the case
 4    was handled by Dicks & Workman, alone, throughout the entirety of the
 5    discovery process and most of the law and motion process. They were joined in
 6    the case by Ms. Boyer and Mr. Murphy to assist in opposing summary
 7    judgment motions after County Counsel retained not one, but two outside law
 8    firms. They were later joined by others, including the very well-known and
 9    esteemed Mr. Greene and the well respected and very talented trial lawyer, Mr.
10    Balaban for the trial. “The time by all the lawyers of over 4,550 hours over an
11    eight-year period of time and in the face of the extraordinary abuses perpetuated
12    by the Defendants and their counsel, represents a very reasonable time for
13    taking a case such as this from inception to trial to a jury, in my opinion.”
14    Iredale Decl. ¶27; see also Casey Decl. at ¶9.
15          As to Ms. Boyer and Mr. Murphy’s time, there was extensive legal
16   briefing in this case concerning Defendants’ attempts to have most, if not all, of
17   the claims and causes of action dismissed, even while they willfully suppressed a
18   treasure trove of incriminating material. While the legal issues raised in these
19   motions for summary judgment were significantly complex and required
20   extensive research, the preparation of the motions were particularly onerous
21   given the County’s multiple discovery abuses which were most thoroughly
22   briefed in the closing days before trial by Mr. Dicks and Ms. Workman.
23          Separate from the motions for summary judgment and multiple sanctions
24   motions, there were numerous motions in limine and abusively repetitive “pocket
25   briefs” filed by the County of San Diego which required opposition. In addition,
26   Plaintiff filed a single motion in limine dealing with the pre and prior acts issues
27   which Defendants repeatedly, consistently and erroneously attempted to
28   convince this Court that Magistrate Major had either gotten wrong, or
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 1   alternatively, had ruled on in the Defendants’ favor. Research and preparation of
 2   trial briefs, jury instructions, the special verdict form and other such trial
 3   documents further make up the hours expended by Mr. Dicks, Ms. Workman,
 4   Ms. Boyer, and Mr. Murphy, as well as Mr. Balaban (discussed below).
 5          Mr. Balaban and Mr. Greene were co-lead trial counsel for this case, with
 6    Mr. Dicks and Ms. Workman actively involved in every phase of the trial, as
 7    they were with every aspect of the case since its inception. In addition to his
 8    trial duties, Mr. Balaban handled most trial-related communications with
 9    defense counsel, and took a leadership role in managing the case, strategy
10    development, and preparing the case for trial. At trial, Mr. Balaban handled
11    most of the liability witnesses, along with Mr. Dicks and Ms. Workman, and
12    was responsible for opening statement and closing argument, along with Mr.
13    Greene, who handled the bulk of the damage witnesses and part of the damage
14    issues in closing argument. Both Mr. Balaban and Mr. Greene spent significant
15    hours preparing for trial and displayed extraordinarily impressive skills in
16    executing their individual functions at trial.
17          Plaintiff’s claims for violation of §1983 against Defendants Banks and
18    the County of San Diego under Monell liability, as well as under the Bane Act,
19    false imprisonment and negligence, required substantial work and pulled on the
20    vast experience of the trial team, experience which, in the case of Mr. Greene,
21    is arguably unparalleled and unavailable from any other source.
22          In addition, throughout this case, Plaintiff’s counsel attempted to make
23    sincere efforts to settle this case short of trial. Prior to associating in co-counsel,
24    Mr. Dicks and Ms. Workman handled preparation for and negotiations at a
25    private, third mediation and at the Mandatory Settlement Conference in 2016,
26   with Mr. Balaban handling preparation for and negotiations at a private
27   mediation in June 2022 which all Plaintiff’s counsel attended. However, efforts
28   to settle the case short of trial were unsuccessful.
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 1          All of the attorneys have exercised billing judgment in the hours
 2    submitted, while dedicating themselves to obtaining the best possible result for
 3    Mr. Myles. Applying the reasonable prevailing rate to each attorney’s
 4    reasonable hours expended provides a total lodestar amount of $4,496,000 as
 5    depicted in the chart below. See also Iredale and Casey Decls. at ¶¶ 17, and 7,
 6    respectively, [“Because counsel for Mr. Myles incurred a reasonable amount of
 7    time litigating this case at reasonable hourly rates, in my opinion Plaintiff’s
 8    requested lodestar of attorneys’ fees of $4,496,000 is reasonable and
 9    necessary.”]
10    ATTORNEY                        RATE               HOURS               TOTAL
11                                                       SPENT
      Browne Greene                   $1,150             420                            $483,000
12

13    Daniel Balaban                  $900               584                            $525,600
14    Joseph Dicks                    $1,000             2,050                        $2,050,000
15
      Linda Workman                   $1,000             1,288                       $1,288,000
16
      Holly Boyer                     $800               86                               $68.800
17
      Shea Murphy                     $700               116                              $81,200
18
                LODESTAR TOTAL:                          4,550 hrs.                  $4,496,000
19

20         Lastly, Plaintiff notes that in addition to the attorney’s fees derived from
21   legal work performed in preparing and litigating this case to trial, Plaintiff is
22   entitled to attorney’s fees for their time spent establishing their right to
23   attorneys’ fees in the amount requested. See Clark v. City of Los Angeles, 803
24   F.2d 987, 992 (9th Cir. 1986) (“We, like every other court that has considered
25   the question, have held that the time spent in establishing entitlement to an
26   amount of fees awardable under section 1988 is compensable.”); see also,
27   Hernandez v. Kalinowski, 146 F.3d 196, 199 (3rd Cir. 1998); Glass v.
28   Pfeffer, 849 F.2d 1261, 1266 (10th Cir. 1988); Hernandez v. George, 793
     MEMORANDUM OF POINTS AND                  -15-              Myles v. County of San Diego, et al.
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 1   F.2d 264, 269 (10th Cir. 1986); Lund v. Affleck, 587 F.2d 75, 77 (1st Cir.1978)
 2   (“It would be inconsistent with the purpose of the Fees Act to dilute a fees
 3   award by refusing to compensate the attorney for the time reasonably spent in
 4   establishing and negotiating his rightful claim to the fee.”). Plaintiff is also
 5   entitled to fees for time spent opposing any post-trial motions by Defendants.
 6                D.    LODESTAR MULTIPLIER.
 7           As noted above, the lodestar figure is presumptively reasonable. See
 8   City of Burlingtion v. Dague, 505 U.S. 557, 562 (1992) (“We have established
 9   a ‘strong presumption’ that the lodestar represents the ‘reasonable’ fee[.]”);
10   Gonzalez, 729 F.3d at 1202 (“The product of this computation—the
11   “lodestar figure”—is a “presumptively reasonable” fee under 42 U.S.C. §
12   1988.”). However, “in rare cases, a district court may make upward or
13   downward adjustments to the presumptively reasonable lodestar on the basis
14   of those factors set out in Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 69–
15   70 (9th Cir.1975), that have not been subsumed in the lodestar calculation.”
16   Camacho, 523 F.3d at 982. Those factors to be considered in making any
17   adjustment to the presumptively reasonable lodestar include:
18            (1) the time and labor required, (2) the novelty and difficulty
19                of the questions involved, (3) the skill requisite to perform
                  the legal service properly, (4) the preclusion of other
20                employment by the attorney due to acceptance of the case,
21                (5) the customary fee, (6) whether the fee is fixed or
                  contingent, (7) time limitations imposed by the client or
22                the circumstances, (8) the amount involved and the results
23
                  obtained, (9) the experience, reputation, and ability of
                  the attorneys, (10) the ‘undesirability’ of the case,
24                (11) the nature and length of the professional
                  relationship with the client, and (12) awards in similar
25
                  cases.
26   Kerr, 526 F.2d at 70. See also, Evon v. Law Offices of Sidney Mickell, 688
27   F.3d 1015, 1033 n. 11 (9th Cir.2012) (quoting Morales v. City of San Rafael,
28   96 F.3d 359, 363–64 n. 8 (9th Cir.1996); Ballen, 466 F.3d at 746 (“After
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 1   making that computation, courts then assess whether it is necessary to adjust
 2   the presumptively reasonable lodestar figure on the basis of twelve factors.”).
 3          As recognized by the Supreme Court, while the justification for a
 4    multiplier cannot include the same factors considered in the initial
 5    determination of the lodestar figure, an award of fees may be adjusted upward
 6    by a multiplier where, for example, the lodestar figure does not “adequately
 7    measure the attorney’s true market value, as demonstrated in part during the
 8    litigation.” Perdue v. Kenny A. ex rel Winn, 559 U.S. 542, 554-555 (2010)
 9    (“[T]here is strong presumption that the lodestar is sufficient; factors subsumed
10    in the lodestar calculation cannot be used as a ground for increasing an award
11    above the lodestar; and a party seeking fees has the burden of identifying a
12    factor that the lodestar does not adequately take into account and proving
13    with specificity that an enhanced fee is justified.”); see also, Kelly v. Wengler,
14    822 F.3d 1085, 1093, 1102-1105 (9th Cir. 2016) (citing Perdue and the
15    superior attorney performance justification for a fee enhancement, the Ninth
16    Circuit affirmed a multiplier of 2.0 and 1.3 to the fees requested by the two
17    attorneys respectively that successfully litigated the action).
18          Kelly is instructive. There, the Ninth Circuit, affirmed a multiplier of 2.0
19   and 1.3 to the fees requested on the grounds that the “superior performance”
20   of the attorneys and the “need to attract competent counsel,” factors not
21   subsumed in the lodestar figure, justified the enhancement of fees. Kelly, 822
22   F.3d 1102-1105. With respect to the superior performance, the Ninth Circuit
23   explained: “In Perdue, the Supreme Court held, although the lodestar figure
24   typically subsumes ‘the novelty and complexity of a case’ and ‘the quality of
25   an attorney's performance,’ a court may enhance the lodestar in ‘rare’ and
26   ‘exceptional’ circumstances when the lodestar figure does not adequately
27   represent counsel’s ‘superior performance and commitment of resources.’ 559
28   U.S. at 553-54, 130 S.Ct. 1662 (citation omitted).” Id. at 1102 (emphasis added).
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 1   The Ninth Circuit explained that in “civil rights cases, a court may enhance
 2   the lodestar figure if plaintiff’s counsel demonstrates the value of her
 3   services exceeds what the court determines to be the prevailing market rate
 4   for otherwise comparable attorneys.” Id. (emphasis added).
 5          Highlighting the district court’s finding that the plaintiff’s counsel
 6    provided “‘extraordinary performance yielding extraordinary results,” and that
 7    “the quality of the work that produced these results [was] underrepresented in
 8    the hourly fee,” the Ninth Circuit held ‘The district court's justification for
 9    enhancing the lodestar figure was supported by specific evidence in the record.
10    The court's statement that Plaintiffs' counsel labored ‘under extreme time
11    pressure and with very limited resources’ was, if anything, an
12    “understatement,” noting that counsel had less than a month to conduct
13    discovery, review thousands of pages of documents, and engaged in
14    “extensive motions practice, writing numerous pre-trial briefs” and yet despite
15    such time constrains, “Plaintiffs’ counsel uncovered substantial evidence of
16    noncompliance with the settlement agreement” supporting a verdict in favor of
17    their clients. Id. at 1102-1104.
18          Similar to Kelly, the lodestar figure arrived at here does not adequately
19   reflect the true market value of the services rendered in this case. Indeed, the
20   attorneys with the most hours in this case, Mr. Dicks and Ms. Workman, are
21   experienced civil rights attorneys with over 35 years each of litigation and trial
22   experience. They bore the brunt of the intense discovery battles and sanctions
23   briefing, all under tremendous time pressures due to the impending trial, having
24   to litigate both the pre-trial issues raised by the Defendants’ discovery abuses
25   and prepare their witnesses and other materials for trial.
26          To top it off, the Defendants’ abuses continued during trial with
27   numerous and repetitive “pocket briefs” which attempted to “work around” this
28   Court’s prior rulings. Indeed, after bringing the Defendants’ abuses to light, and
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 1   after the Court’s several sanctions orders, the County of San Diego dumped
 2   hundreds of pages of new and critically important material on Plaintiff’s
 3   counsel from just over a week before the then trial date in July 2022, through
 4   the first week of trial in September 2022, while the parties were in the jury
 5   selection mode. Add to that the temerity of bringing two Rule 50 motions
 6   claiming that Plaintiff was attempting to inject new theories of liability into the
 7   case (see, for instance, Exhibit A to Dicks Decl., Trial Transcript, September
 8   15, 2022, 617:20 – 619:3), and one can get a close approximation of the added
 9   stress, pressure and frustration every one of Plaintiff’s attorneys endured, in
10   having to modify and change direction for the examination of every liability
11   witness due to the new documents being uncovered almost daily. See Dicks and
12   Balaban Decls. at ¶¶24, 40 and 16, respectively.
13         Further, the extraordinary performance by Plaintiff’s team of trial
14   lawyers, lead by Browne Greene and Daniel Balaban, resulted in a truly
15   extraordinary unanimous verdict rarely obtained; that is, findings against the
16   County under Monell that:
17         1. An unlawful official policy, practice or custom of the County was a
18             cause of Myles’ injuries;
19         2. The County’s failure to train was a cause of Myles’ injuries; and,
20         3. The County ratified the conduct of Banks, causing Myles’ injuries.
21   See Verdict, Doc. No. 439 at II A, B and C.
22         That the Monell claims rarely survive dispositive pre-trial motions to
23   dismiss is indisputable. That they end up resulting in unanimous findings on
24   every theory submitted to the jury is practically unheard of. Notwithstanding
25   any “respectful disagreement” by the defense of the jury’s findings, this rare
26   result should ultimately have a long-term, deeply intense and resounding effect
27   on how the County does business, conferring an invaluable and immeasurable
28   community benefit, supporting a significant enhancement of the basic lodestar
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 1   in this case.
 2          Further supporting the lodestar enhancement is the fact that Plaintiff’s
 3   trial counsel all put significant out-of-pocket expenses into the case, totaling
 4   over $520,000, as follows:
 5       1. Greene, Broillet & Wheeler:       $126,480.66
 6       2. Balaban & Spielberger:            $206,815.12
 7       3. Dicks & Workman:                  $187,469.37
 8          TOTAL:                            $520,765.15
 9   Thus, the dedication to seeking justice was not just demonstrated by the
10   devotion of time and effort, but was demonstrated, in addition, by the enormous
11   capital investment these attorneys made to a cause in which the outcome was
12   anything but certain, particularly in light of the unscrupulous tactics in which
13   the County engaged.
14          Thus, just as in Kelly, the prevailing market rate for Mr. Greene, Mr.
15    Balaban, Mr. Dicks, Ms. Workman, Ms. Boyer and Mr. Murphy, given their
16    respective years of experience, fails to fully appreciate the superior experience,
17    skill and devotion to the cause applied by these attorneys in this litigation and
18    the meaningful and beneficial result obtained for the client and the community as
19    a result of their success. On this latter point, the Ninth Circuit’s position in
20    Kelly that the 2.0 and 1.3 enhancement was further justified in light of the
21    court’s finding that “the limited fees available in prisoner civil rights cases,
22    without enhancement, are insufficient to induce private attorneys in Idaho to
23    accept cases, such as this one, seeking declaratory and injunctive relief’ is
24    also relevant to the applicability of a multiplier here as, given the difficulty of
25    proving Monell claims, “an award of fees that does meaningfully compensate
26   the attorneys will fail to attract the most competent of counsel.” See Kelly, at
27   1104-1105.
28          While public entities such as sheriff’s departments (which, unlike local
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 1    municipal police departments, are the top law enforcement agencies in each
 2    county) provide tremendous benefit to the community, such powerful
 3    institutions can also wield extraordinary abuse and harm if that power goes
 4    unchecked by those with the rare skills and resources necessary to do so.
 5    Verdicts such as the instant one hold public entities accountable for their
 6    unlawful policies. Section 1988, section 52.1(i) and the lodestar multipliers they
 7    authorize, ensure that competent counsel of the highest quality will chose to
 8    fight these critically important cases. In a county of approximately 3.3 million
 9    residents (second only to LA county in population), the potential positive
10    impact on the citizenry is incalculable.
11          In light of such considerations not already considered in the lodestar figure
12   of $4,496,000, Plaintiff requests a multiplier of 2.0, bringing the total fees award
13   to $8,992,000. In the two recent cases from the Central District which are
14   attached as Exhibit D to the Dicks Decl., the courts therein granted a multiplier
15   of 1.5 on each occasion, where the cases did not even involve Monell claims, did
16   not result in the kinds of findings likely to produce systemic change (i.e. pattern
17   and practice, failure to train, ratification) and the plaintiff’s counsel did not have
18   to deal with the multitude of evils perpetuated by the Defendants and their
19   counsel in the present case. See also, Moore v. Brunner, 2010 WL 317017, at *3
20   (S.D. Ohio 2010) (“Due to the exceptional results obtained in these cases, the
21   Court finds that a multiplier of 1.25 is appropriate. See Blum v. Stenson, 465 U.S.
22   886, 901, 104 S.Ct. 1541, 79 L.Ed.2d 891 (1984) (“in some cases of exceptional
23   success an enhanced award may be justified”) (quoting Hensley v. Eckerhart,
24   461 U.S. 424, 435, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983)).”); Gonzales v. City of
25   San Jose, 2016 WL 3011791, at *8-9 (N.D. Cal. 2016) (“The Court agrees with
26   Plaintiff that the case was factually complex. Plaintiff asserted constitutional
27   violations in the context of an extensive police operation to investigate an alleged
28   gang murder in which Plaintiffs son was the chief suspect. The number of
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 1   officers on the scene when the alleged misconduct occurred was extraordinary,
 2   necessitating complicated discovery that was only made more difficult by the
 3   obstacles City threw in Plaintiffs way. The Court also agrees with Plaintiff that
 4   the contingency-fee arrangement justifies a multiplier, as does the fact that this
 5   was not an attractive case for attorneys to take. At the same time, the legal issues
 6   involved should have been relatively standard for lawyers of Plaintiffs counsel's
 7   experience and expertise. . . . Having granted Plaintiffs counsel's requested fees
 8   and hours nearly in full, the Court finds that a multiplier of 1.1 is appropriate on
 9   balance.”); Balia v. Idaho State Board of Correction, 2016 WL 6762651 (D.
10   Idaho 2016) (awarding multipliers similar to those in Kelly due to the attorneys’
11   superior performance and the need to attract competent counsel); Cole v. City of
12   Memphis, Tenn., 2015 WL 5076974, at *9 (W.D. Tenn. 2015) (In a civil rights
13   class action where fees were requested under Section 1988, the court held that in
14   light of the results obtained, a 1.15 multiplier was warranted; “In light of the
15   injunctive relief prohibiting the Beale Street Sweep and requiring additional
16   training of police officers to be more aware of an individual’s constitutional
17   rights, the results achieved by Plaintiffs’ counsel go beyond the interests of the
18   parties in the instant case. For these reasons, the Court finds it appropriate to
19   award Plaintiffs' counsel a 15% enhancement (1.15 multiplier).”).
20          Therefore, a 2.0 enhancement is justified in this case, where the legal and
21    factual issues, time and capital invested, as well as the result, were anything but
22    standard, particularly given Defendants’ documented abuses, discovery and
23    otherwise.
24                 E. PLAINTIFF IS FURTHER ENTITLED TO HIS REASONABLE OUT-
25                    OF- POCKET LITIGATION COSTS AS RECOVERABLE UNDER 42
26                    U.S.C. § 1988 AND CIVIL CODE SECTION 52.1(I).
27           Further, it is well established that attorney’s fees under 42 U.S.C.
28   §1988 and §52.1(i) include reasonable out-of-pocket litigation expenses that
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 1   would normally be charged to a fee-paying client, even if the court cannot tax
 2   these expenses as “costs” under 28 U.S.C. § 1920. Trustees of Const
 3   Industry and Laborers Health and Welfare Trust v. Redland Ins. Co., 460
 4   F.3d 1253 (9th Cir. 2006). Therefore, Plaintiff is entitled to recover for
 5   reasonable out-pocket-expenses incurred in this litigation. These are expenses
 6   that a client would normally pay but which were not taxed as costs; they are,
 7   therefore, compensable under 42 U.S.C. §1988.
 8          Plaintiff’s out-of-pocket expenses included the cost of retaining
 9   expert witnesses, Jeffrey Noble, Dr. Monte Buchsbaum, Dr. Clark Clipson, Dr.
10   Robert Hall, Gregory Kaseno, and Dr. Scott Matthews. Plaintiff incurred total
11   expert witness expenses as set forth in the Declarations of Messrs. Dicks and
12   Balaban and the exhibits thereto. In addition, Plaintiff incurred travel, hotel and
13   meal expenses due to the fact that Plaintiff and his family had to travel from
14   Washington D.C. (where they moved after the incident), and because Mr.
15   Balaban and Mr. Greene both reside in Los Angeles,8 as well as other
16   reasonable and necessary costs as set forth more specifically in said declarations
17   and their exhibits. Accordingly, Plaintiff respectfully requests an award of
18   expenses in the total amount of $520,765.15, as set forth above.
19                F. PLAINTIFF IS ENTITLED TO SANCTIONS IN THE AMOUNT OF
20                    $9,512,765.15, REPRESENTING ALL FEES AND COSTS
21                    REQUESTED HEREIN.
22         Under Federal Rule of Civil Procedure Rule 37, a failure to propound
23   responses to discovery requests may warrant the imposition of a wide range of
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      Two of the four counsel for Plaintiff reside outside San Diego County, while
     three of the four counsel for the Defendants reside outside San Diego County,
28   one traveling from New York to attend trial.

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 1   sanctions. 9 The court may even impose terminating sanctions where the failure to
 2   respond to discovery requests is willful or bad faith unwillingness. See Sanchez
 3   v. Rodriguez (C.D. Cal. 2014) 298 F.R.D. 460, 463. Willfulness and bad faith
 4   “does not require wrongful intent; rather, disobedient conduct not shown to be
 5   outside the party's control is by itself sufficient to establish willfulness, bad faith,
 6   or fault. …(quoting Jorgensen, 320 F.3d at 912, and citing Henry, 983 F.2d at
 7   948); see also, Hyde & Drath v. Baker, 24 F.3d 1162, 1167 (9th Cir.1994) (citing
 8   Henry, 983 F.2d at 948).” Id. at 463.
 9          Here, the Court, exercising tremendous patience and judicial restraint,
10   opted for sanctions less severe than terminating sanctions, while reserving the
11   imposition of additional sanctions depending on the presentation of the
12   evidence. Given the nature of the evidence adduced, the additional documents
13   that the Court and Plaintiff learned were continuing to be withheld wrongfully
14   and willfully by the Defendants, and given that Plaintiff will therefore never
15   know the nature and extent of the deceit perpetuated against him by the County
16   or the effect that deceit had on his verdict, the Court should award Plaintiff all
17   of his attorney’s fees, the requested 2.0 multiplier, plus all costs.
18          Finally, and as noted in prior briefings by Plaintiff, in addition to
19   finding willfulness, bad faith, or fault, before more severe sanctions may be
20   ordered per Rule 37, “a court must consider and weigh the following five
21   factors: (1) the public interest in expeditious resolution of litigation; (2) the
22   court's need to manage its dockets; (3) the risk of prejudice to the party seeking
23   sanctions; (4) the public policy favoring disposition of cases on the merits; and
24   (5) the availability of less drastic sanctions. See, e.g., Connecticut General v.
25   New Images, 482 F.3d 1091, 1096 (2007); Henry, 983 F.2d at 948.” Sanchez,
26

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     9
      This Court may also issue sanctions under FRCP 11, given the
     misrepresentations in Doc. Nos. 72-3 and 193, regarding the authenticity
28   objections to the Valdez IA material and refusal to acknowledge and defense of
     same in the course of the sanctions motion.
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 1   298 F.R.D. at 469–470; see Valley Eng'rs, Inc. v. Elec. Eng'g Co., 158 F.3d
 2   1051, 1057 (9th Cir.1998).
 3          Here, all the factors weigh heavily in favor of the additional sanctions
 4   Plaintiff prays for herein. See Sanchez, 298 F.R.D. at 472-473. Broadly speaking,
 5   Defendants’ ongoing unwillingness to meet its discovery requirements has
 6   immutably compromised Plaintiff’s ability to fully avail himself of the rights he
 7   has been granted under law. Indeed, beyond the copious resources (including
 8   judicial resources) that have been squandered as a result of Defendants’ cover-up
 9   practices, it is now no longer possible for Plaintiff to know the full extent of the
10   prejudice he has suffered. The net effect on Plaintiff of having been denied the
11   discovery and additional discovery opportunities that resulted from Defendant
12   County’s repeated and willful suppression of evidence justifies the relief herein
13   sought. See Hyde & Drath v. Baker, 24 F.3d 1162, 1166- 1167 (9th Cir. 1994),
14   citing United States ex rel. Wiltec Guam. Inc. v. Kahaluu Const. Co., 857 F.2d
15   600, 604 (9th Cir. 1988.) In addition, Plaintiff refers this Court to Chambers v.
16   Nasco, Inc., 501 U.S. 32 (1991) and Goodyear Tire & Rubber Co. v Haeger, 137
17   S. Ct. 1178 (2017) authorizing payment of all attorney’s fees as a sanction when
18   the discovery abuses taint the entire litigation, exactly what has happened in the
19   present case, especially given their spanning a period of over six years.
20          III. CONCLUSION
21          For the foregoing reasons, Plaintiff respectfully requests that the Court
22   award attorney’s fees in the amount of $8,992,000 (lodestar figure of
23   $4,496,000, with a 2.0x multiplier added to that sum). Plaintiff also requests
24   that the Court award expenses in the amount of $520,765.15 for a total of
25   $9,512,765.15. Finally, Plaintiff requests that the Court award him attorney’s
26   fees for work performed in the preparation and litigation of the instant motion for
27   attorney’s fees, including all time not accounted for in these papers and for the
28   time after these papers are filed, as will be stated in the reply papers.
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 1
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